     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 1 of 20



 1   Michael W. Sobol (SBN 194857)
     msobol@lchb.com
 2   Roger N. Heller (SBN 215348)
     rheller@lchb.com
 3   LIEFF CABRASER HEIMANN &
 4   BERNSTEIN LLP
     275 Battery Street, 29th Floor
 5   San Francisco, CA 94111-3339
     Telephone: 415.956.1000
 6   Facsimile: 415.956.1008

 7   Attorneys for Plaintiffs and the Proposed Class
 8

 9                                UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN FRANCISCO DIVISION
12

13
     MARCUS A. ROBERTS, KENNETH A.                     Case No. 3:15-cv-03418-EMC
14   CHEWEY, AND ASHLEY M. CHEWEY, on
     behalf of themselves and all others similarly     DECLARATION OF ROGER N.
15   situated,                                         HELLER IN SUPPORT OF
                                                       PLAINTIFFS’ MOTION FOR FINAL
16                 Plaintiffs,                         APPROVAL OF CLASS SETTLEMENT
                                                       AND MOTION FOR ATTORNEYS’
17   v.                                                FEES, EXPENSES, AND SERVICE
                                                       AWARDS
18   AT&T MOBILITY LLC,
                                                       Date: August 19, 2021
19                                                     Time: 1:30 p.m.
                                                       Judge: Hon. Edward M. Chen
20                                 Defendant.          Courtroom: 5

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                                                                    DECLARATION OF ROGER N. HELLER
     2238486.4
                                                -1-                        CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 2 of 20



 1               I, Roger N. Heller, hereby declare and state:
 2               1.     I am a member in good standing of the California State Bar. I am a partner at the
 3   law firm of Lieff Cabraser Heimann & Bernstein LLP (“LCHB”) and one of the attorneys serving
 4   as Settlement Class Counsel in this case. I respectfully submit this declaration in support of
 5   Plaintiffs’ Motion for Final Approval of Class Settlement and Motion for Attorneys’ Fees,
 6   Expenses, and Service Awards. I have personal knowledge of the facts set forth in this
 7   declaration, and could and would testify competently to them if called upon to do so.
 8                                          Background and Experience
 9               2.     LCHB is one of the oldest, largest, most respected, and most successful law firms
10   in the country representing plaintiffs in class actions, and brings to the table a wealth of class
11   action experience. LCHB has been repeatedly recognized over the years as one of the top
12   plaintiffs’ law firms in the country, including by The National Law Journal and The American
13   Lawyer. A copy of LCHB’s firm resume, which describes the firm’s experience in class action
14   and other complex litigation, can be found at
15   www.lieffcabraser.com/pdf/Lieff_Cabraser_Firm_Resume.pdf, and is not attached hereto given
16   its length.
17               3.     Among the firm’s other areas of practice, LCHB has served in leadership positions
18   in a wide range of consumer protection class actions. By way of example only:
19              LCHB served as Co-Class Counsel and lead trial counsel in Gutierrez v. Wells Fargo Bank,
20               N.A., (N.D. Cal.), a class action alleging unfair practices and false representations by Wells
21               Fargo in connection with its imposition of overdraft charges. In 2016, a $203 million class
22               judgment, which was entered in 2010 following a bench trial, became final.
23              LCHB serves on the Plaintiffs’ Executive Committee in In re Checking Account Overdraft
24               Litigation (MDL 2036, S.D. Fla.), a Multi-District proceeding involving more than two
25               dozen banks and allegations of unfair practices and false representations in connection with
26               the banks’ imposition of overdraft charges. Class settlements totaling hundreds of millions
27               of dollars have been approved by the MDL court to date.
28              LCHB served as Plaintiffs’ Liaison Counsel and on the Plaintiffs’ Executive Committee in
                                                                                 DECLARATION OF ROGER N. HELLER
     2238486.4
                                                      -2-                               CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 3 of 20



 1               In re Chase Bank USA, N.A. “Check Loan” Contract Litigation (MDL No. 2032, N.D.
 2               Cal.), a nationwide Multi-District class action alleging that Chase breached its good faith
 3               obligation to credit cardholders by modifying the terms of their long-term fixed rate loans.
 4               In November 2012, the court granted final approval to a $100 million nationwide settlement
 5               that provided direct payments to approximately one million cardholders and injunctive
 6               relief.
 7              LCHB served as Class Counsel in In re TracFone Unlimited Service Plan Litigation (N.D.
 8               Cal.), a nationwide class action alleging misleading advertisements about “unlimited”
 9               mobile data plans. In 2015, the court granted final approval of a class settlement that
10               included a $40 million fund and important practice changes.
11              LCHB serves as Co-Class Counsel in Lusnak v. Bank of America, N.A., (C.D. Cal.), a
12               California class action alleging that defendant failed to pay interest on mortgage customers’
13               mortgage escrow balances, as required by state law. In 2020, the court granted final
14               approval of a $35 million settlement providing direct payments to class members.
15              LCHB served as Co-Lead Counsel in In Re Providian Financial Corp. Credit Card Terms
16               Litigation (MDL No. 1301; and related JCCP proceedings), representing credit card holders
17               who were charged excessive interest and late charges and sold “add on” products and
18               services with promised benefits that were illusory. In November 2001, the court granted
19               final approval to a $105 million settlement of the case, which also required Providian to
20               implement substantial changes to its business practices.
21              LCHB served as Co-Class Counsel in Brazil v. Dell Inc. (N.D. Cal.), a class action alleging
22               that defendant engaged in false reference price advertising in connection with its online sale
23               of computers. This was the first class action of its kind to receive class certification.
24              LCHB served as Class Counsel and Lead Plaintiffs’ Counsel in In re Apple and AT&T iPad
25               Unlimited Data Plan Litigation (N.D. Cal.), a class action alleging that defendants falsely
26               advertised access to an unlimited data plan for the iPad device. In 2014, the court granted
27               final approval of a settlement whereby class members were able to submit claims for cash
28               payments and for access to an expanded 3G data plan for their iPads.
                                                                                   DECLARATION OF ROGER N. HELLER
     2238486.4
                                                       -3-                                CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 4 of 20



 1              LCHB served as Class Counsel in Williamson v. McAfee (N.D. Cal), a class action alleging
 2               that McAfee unfairly charged customers for the automatic-renewal of their anti-virus
 3               software and engaged in false reference price advertising. In 2017, the court approved a
 4               settlement that provided monetary benefits and injunctive relief.
 5              LCHB serves as Interim Co-Class Counsel in In re Arizona Theranos, Inc. Litigation, (D.
 6               Ariz.), a class action alleging that Walgreens and startup company Theranos, Inc. and its top
 7               executives committed fraud and battery by prematurely marketing to consumers blood
 8               testing services that were still in-development, not ready-for-market, and dangerously
 9               unreliable.
10              LCHB served as Settlement Class Counsel in Kline v. The Progressive Corporation (No.
11               02-L-6, Illinois Circuit Court, Johnson County), a nationwide class action challenging
12               Progressive Corporation’s private passenger automobile insurance sales practices. In 2002,
13               the court approved a settlement valued at approximately $450 million, which included both
14               cash and equitable relief.
15               4.     Over the course of this litigation, multiple attorneys at LCHB have worked on this
16   the prosecution of this case. The following are the primary LCHB attorneys who have worked on
17   this case and their respective backgrounds:
18               5.     Roger N. Heller I graduated from Columbia University School of Law in 2001,
19   where I was a Senior Editor for the Columbia Law Review. From 2001 through 2005, I was a
20   litigation associate at O’Melveny & Myers LLP. From 2005 through 2008, I worked for the non-
21   profit law firm Disability Rights Advocates, where I was a Senior Staff Attorney and worked
22   primarily on prosecuting class actions under federal and state anti-discrimination laws. I joined
23   LCHB in 2008, and became a partner at LCHB in 2011. During my time at LCHB, my practice
24   has focused on consumer protection class actions. I have successfully represented large classes in
25   numerous cases, including cases involving false advertising, telecommunications services,
26   consumer banking, insurance, and credit cards.
27               6.     Michael W. Sobol is a 1989 graduate of Boston University School of Law. He
28   practiced law in Massachusetts from 1989 to 1997. From 1995 through 1997, he was a Lecturer in
                                                                                DECLARATION OF ROGER N. HELLER
     2238486.4
                                                      -4-                              CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 5 of 20



 1   Law at Boston University School of Law. In 1997, he left his partnership in the Boston firm of
 2   Shafner, Gilleran & Mortensen, P.C. to move to San Francisco and to LCHB. Since joining
 3   LCHB in 1997, he has represented plaintiffs in numerous consumer protection, privacy, and other
 4   class actions, and has been appointed to leadership roles in numerous MDLs and other class
 5   actions. He has been a partner with LCHB since 1999, since 2002 has served as the head of
 6   LCHB’s Consumer Protection practice group, and since 2016 has served as the head of LCHB’s
 7   Cybersecurity and Data Privacy practice group.
 8               7.    Nicole D. Sugnet graduated from University of California, Hastings College of the
 9   Law in 2006. Prior to her departure from LCHB in February 2017, she was a partner in LCHB’s
10   San Francisco office and represented consumers in cases involving false advertising, bait-and-
11   switch schemes, and bad faith conduct, as well as multiple privacy cases. Prior to joining LCHB,
12   she was an associate attorney at Green Welling, P.C. in San Francisco.
13               8.    Philippe Benoit graduated from Boston College Law School in 2007 and received
14   his B.A. from University of California, Los Angeles in 2001. Mr. Benoit is a Staff Attorney at
15   LCHB, and was previously a contract attorney.
16               9.    Daniel E. Seltz graduated from New York University School of Law in 2003,
17   where he was Managing Editor of the Review of Law and Social Change. From 2003 to 2004, he
18   served as a law clerk to the Honorable John T. Nixon of the Middle District of Tennessee. He
19   joined LCHB in 2004 and has been a partner since 2010. He has represented consumers,
20   investors, municipalities, and businesses in a variety of class actions, including cases involving
21   pharmaceutical marketing, natural gas royalties, foreign exchange fees, and other matters.
22               10.   Avery S. Halfon graduated cum laude from Harvard Law School in 2015, where
23   he was the Editor-in-Chief of the Harvard Law & Policy Review. From 2015 to 2016 he
24   represented plaintiffs in consumer protection actions and other cases at Cohen Milstein Sellers &
25   Toll. From 2016 to 2017 he served as a Law Clerk to the Honorable Judge Jane Stranch on the
26   U.S. Court of Appeals for the Sixth Circuit. In 2017 he joined LCHB, and since then he has
27   worked as an associate at LCHB on numerous consumer class actions and other plaintiff-side
28   litigation.
                                                                            DECLARATION OF ROGER N. HELLER
     2238486.4
                                                  -5-                              CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 6 of 20



 1                                       Procedural History of the Case
 2               11.   Plaintiffs filed this case on July 24, 2015, asserting claims on behalf of themselves

 3   and a proposed nationwide class and California subclass. Plaintiffs alleged, generally, that AT&T

 4   advertised wireless data plans as providing “unlimited” data, but applied undisclosed or

 5   inadequately disclosed limitations, after which customers’ data usage was subject to throttling.

 6   Dkt. 1. On August 6, 2015, this case was related, pursuant to Civil Local Rule 3-12, to FTC v.

 7   AT&T Mobility LLC, N.D. Cal., Case No. 14-cv-04785-EMC (the “FTC Action”), and reassigned

 8   to this Court. Dkt. 7. On September 3, 2015, Plaintiffs filed a First Amended Complaint, adding

 9   additional allegations, one additional plaintiff, James Krenn, and a claim on behalf of a proposed

10   Alabama subclass. Dkt. 11.

11               12.   On November 2, 2015, AT&T moved to compel arbitration. Dkt. 25. The parties

12   conducted arbitration-related discovery and briefed AT&T’s motion. On February 29, 2016, the

13   Court granted AT&T’s arbitration motion. Dkt. 50. After Plaintiffs moved for leave to seek

14   reconsideration, on April 27, 2016, the Court issued an amended order granting AT&T’s

15   arbitration motion. Dkt. 60 (“Arbitration Order”). On June 27, 2016, the Court granted

16   Plaintiffs’ request to certify the Arbitration Order for interlocutory review pursuant to 28 U.S.C. §

17   1292(b). Dkt. 69. On October 20, 2016, the Ninth Circuit granted Plaintiffs permission to appeal

18   the Arbitration Order. Following full briefing on this first appeal, on December 11, 2017, the

19   Ninth Circuit affirmed the Court’s Arbitration Order. Dkt. 83.

20               13.   After the mandate issued, on remand Plaintiffs moved for leave to seek

21   reconsideration of the Arbitration Order in light of the California Supreme Court’s intervening

22   decision in McGill v. Citibank, N.A., 393 P.3d 85 (Cal. 2017). Following briefing, on March 14,

23   2018, the Court granted Plaintiffs’ motion for reconsideration, denied AT&T’s motion to compel

24   arbitration as to the California Plaintiffs (Marcus A. Roberts, Kenneth A. Chewey, and Ashley M.

25   Chewey), and granted AT&T’s motion to compel arbitration as to Alabama plaintiff James

26   Krenn. Dkt. 103 (“Reconsideration Order”).

27               14.   On April 6, 2018, AT&T noticed an appeal of the Reconsideration Order. On June

28   22, 2018, the Court granted in part and denied in part AT&T’s motion to stay proceedings,
                                                                              DECLARATION OF ROGER N. HELLER
     2238486.4
                                                    -6-                              CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 7 of 20



 1   permitting the parties to conduct certain discovery while AT&T’s appeal was pending. Dkt. 119.
 2   The parties engaged in the permitted discovery. Following briefing on AT&T’s appeal, on
 3   February 18, 2020, the Ninth Circuit affirmed the Court’s Reconsideration Order. Dkt. 160.
 4               15.   In the meantime, in the FTC Action, AT&T and the FTC notified the Court that
 5   they had reached a settlement. Plaintiffs’ counsel in this case appeared in the FTC Action to
 6   ensure that the settlement and judgment there would not operate to release any of the Plaintiffs’ or
 7   putative class members’ claims in this case, which AT&T confirmed.
 8               16.   After the mandate issued following AT&T’s appeal, on May 14, 2020, AT&T filed
 9   a motion to partially dismiss Plaintiffs’ First Amended Complaint. Dkt. 169. Plaintiffs opposed
10   AT&T’s motion (Dkt. 182), and AT&T replied (Dkt. 184). On July 2, 2020, the Court held a
11   hearing and granted in part and denied in part AT&T’s motion. Dkt. 188. On August 3, 2020,
12   Plaintiffs filed their operative Second Amended Complaint, asserting claims on behalf of
13   themselves and a California class and adding additional allegations including regarding the CAT
14   iteration of AT&T’s data management practice. Dkt. 190.
15                              Settlement Class Counsel’s Work in This Case
16               17.   Prior to filing suit in 2015, Settlement Class Counsel conducted an extensive
17   investigation into the factual and legal issues involved. These investigative efforts—which
18   continued through the course of the litigation and are reflected in, inter alia, Plaintiffs’ initial and
19   amended complaints—have included speaking with numerous AT&T wireless customers about
20   their experiences, thoroughly investigating and analyzing AT&T’s advertising, data management
21   policies, and disclosures, and investigating customer complaints and other pertinent public
22   information. Settlement Class Counsel also extensively researched and analyzed the legal issues
23   regarding the claims pled and AT&T’s defenses and potential defenses.
24               18.   AT&T vigorously defended the case from the outset. Shortly after this case was
25   filed, in 2015, AT&T moved to compel arbitration. That set off a years’ long effort (ultimately
26   successful) to keep Plaintiffs’ claims in court and to maintain the possibility of obtaining class
27   relief. The lengthy arbitration-related phase of the case required substantial commitments of time
28   and resources by Settlement Class Counsel, including with respect to: AT&T’s motion to compel
                                                                              DECLARATION OF ROGER N. HELLER
     2238486.4
                                                   -7-                               CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 8 of 20



 1   arbitration; conducting arbitration-related discovery; Plaintiffs’ motion for reconsideration of the
 2   Court’s initial order compelling arbitration; Plaintiffs’ Rule 1292(b) petition for interlocutory
 3   review; briefing and arguing the first appeal to the Ninth Circuit; moving for reconsideration of
 4   the arbitration order following remand after the first appeal based on the intervening McGill
 5   decision; and briefing AT&T’s appeal of this Court’s reconsideration order. In furtherance of
 6   these efforts, Settlement Class Counsel conducted extensive legal research and analysis, prepared
 7   multiple briefs in this Court and on the two appeals to the Ninth Circuit, and prepared for
 8   arguments addressing complex legal issues such as FAA preemption, the applicability of the
 9   Petition Clause of the First Amendment, the application of the California Supreme Court’s
10   McGill decision to the circumstances here, and the interplay between McGill and the FAA.
11               19.   Settlement Class Counsel also opposed AT&T’s motion to stay this case pending
12   AT&T’s appeal. The Court ultimately denied that motion in part, permitting certain discovery
13   while AT&T’s appeal was pending, and thus putting Settlement Class Counsel in a better position
14   to effectively litigate the case once it returned to this Court following that appeal.
15               20.   After the Court permitted Plaintiffs to engage in some discovery while AT&T’s
16   appeal was pending, Settlement Class Counsel engaged in negotiations with AT&T’s counsel
17   regarding the scope of AT&T’s document production. Pursuant to an agreement reached through
18   those negotiations, AT&T produced more than 700,000 pages of pertinent documents and
19   deposition testimony from the FTC Action. Settlement Class Counsel began reviewing and
20   analyzing those materials while AT&T’s appeal was pending.
21               21.   After the Ninth Circuit affirmed this Court’s reconsideration order, thus returning
22   the case to this Court, Settlement Class Counsel continued to thoroughly review and analyze the
23   materials AT&T had produced. In all, they have reviewed hundreds of thousands of pages of
24   materials produced by AT&T.
25               22.   The litigation also continued following remand to this Court, with AT&T moving
26   for partial dismissal of Plaintiffs’ First Amended Complaint. Briefing that motion, and preparing
27   for the argument, required a substantial effort by Settlement Class Counsel. After the Court
28   granted in part and denied in part AT&T’s motion to dismiss, Plaintiffs filed their Second
                                                                             DECLARATION OF ROGER N. HELLER
     2238486.4
                                                   -8-                              CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 9 of 20



 1   Amended Complaint, in which Settlement Class Counsel added additional allegations regarding
 2   AT&T’s throttling under CAT and other information Settlement Class Counsel learned from,
 3   inter alia, their review of the AT&T-produced materials.
 4               23.   In the meantime, in November 2019 in the FTC Action, AT&T and the FTC
 5   notified the Court that they had reached a settlement. Settlement Class Counsel appeared in the
 6   FTC Action to ensure that the settlement there would not operate to release any of the Plaintiffs’
 7   or putative class members’ claims in this case, which AT&T confirmed.
 8               24.   On the settlement negotiation front, there were two full-day mediation sessions in
 9   this case. Settlement Class Counsel and AT&T participated in an initial, full-day mediation with
10   Cathy Yanni, Esq. of JAMS on November 6, 2019, while AT&T’s appeal was pending. That first
11   session did not result in a settlement. On September 15, 2020, the parties engaged in a second
12   full-day session with Ms. Yanni, after the resolution of both AT&T’s appeal and AT&T’s motion
13   to dismiss. Preparing for these sessions involved a substantial effort by Settlement Class
14   Counsel, including reviewing and analyzing data produced by AT&T regarding the number of
15   affected customers. At the conclusion of the second session, the parties reached an agreement in
16   principle to resolve this case. The parties did not discuss the issue of Settlement Class Counsel’s
17   fees and expenses as part of the negotiations (other than that any amount awarded would be paid
18   from the common settlement fund). After reaching an agreement in principle, the parties worked
19   diligently to draft the written settlement agreement, notices, and other settlement exhibits, and to
20   select the Settlement Administrator through a competitive bidding process.
21               25.   Settlement Class Counsel then prepared, and argued, the motion for preliminary
22   settlement approval. During the hearing on that motion, the Court directed the parties to make
23   certain modifications to the forms of class notice and to add an option for Settlement Class
24   Members to opt-out via email. The Court and the parties also discussed possibly adding
25   additional methods of supplemental notice. Following the preliminary approval hearing,
26   Settlement Class Counsel worked hard—together with AT&T’s counsel and the Settlement
27   Administrator—to make the modifications directed by the Court and to add to the class notice
28   program: (a) reminder email and SMS notices; and (b) a targeted social media notice campaign.
                                                                             DECLARATION OF ROGER N. HELLER
     2238486.4
                                                   -9-                              CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 10 of 20



 1   Settlement Class Counsel worked on the various forms and revised forms of the notices, and in
 2   preparing the Amended Settlement Agreement and exhibits incorporating the
 3   modifications/additions.
 4               26.   After the Settlement was filed, Settlement Class Counsel have continued to
 5   commit substantial time and effort to notice and other implementation efforts, including with
 6   respect to the final forms of notices, the online claim process, and the Settlement Website and
 7   Toll-Free Number content; ensuring that notices were timely disseminated in accordance with the
 8   Court’s Preliminary Approval Order; and, following dissemination of notice, speaking with
 9   numerous Settlement Class Members who have contacted Settlement Class Counsel. Settlement
10   Class Counsel also prepared a motion for final settlement approval (filed herewith), and will
11   appear at the upcoming Fairness Hearing.
12               27.   Moreover, Settlement Class Counsel’s work will continue past the Fairness
13   Hearing should the Settlement be approved, and will not conclude until all payments are made,
14   former customer checks are negotiated, and the Settlement is fully consummated.
15                                        LCHB’s Work in This Case
16               28.   LCHB has played an active and central role in virtually all aspects of this case
17   since it was first filed, including, inter alia: coordinating class counsel’s efforts and serving as
18   the primary liaison with defense counsel; conducting pre-filing and ongoing factual investigation
19   and legal research; briefing and helping to brief the various motions in this Court and appellate
20   briefs; drafting pleadings; arguing Plaintiffs’ second motion for reconsideration, AT&T’s motion
21   to stay, and AT&T’s motion to dismiss; appearing at several case management conferences;
22   participating in proceedings in the FTC Action to help protect the interests of Plaintiffs and the
23   class members in this case; conducting negotiations regarding the scope of discovery pending
24   AT&T’s appeal; engaging in meet and confer conferences; drafting written discovery requests;
25   reviewing documents and data; conducting arbitration-related discovery; preparing for and
26   participating in the mediation sessions; drafting settlement papers; arguing the motion for
27   preliminary approval, and ongoing work on settlement approval and notice and other
28   implementation efforts in coordination with the Settlement Administrator and AT&T.
                                                                              DECLARATION OF ROGER N. HELLER
     2238486.4
                                                   - 10 -                            CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 11 of 20



 1               29.    The following chart breaks down, by task category, the number of hours that
 2   LCHB has spent on this litigation for which LCHB seeks compensation (as of May 20, 2021):1
 3               Task Category                                          Hours
 4               Factual Investigation/Legal Research                   13.80
                 Complaints                                             48.30
 5               Arbitration/Reconsideration Motions (District Court)   222.10
                 First Appeal                                           65.50
 6               Second Appeal                                          119.10
 7               Motion to Dismiss                                      111.70
                 Other Motions/Filings                                  187.40
 8               Document Review                                        2,165.80
                 Discovery (Other Than Document Review)                 56.40
 9               Court Appearances and Preparation                      164.40
                 Case Strategy                                          21.10
10
                 Plaintiff and Class Member Communications              12.60
11               Experts/Consultants                                    0.70
                 FTC Case Proceedings                                   52.10
12               Mediation/Settlement                                   265.50
                 Miscellaneous                                          27.50
13
                 Total Hours                                            3,534.00
14

15               30.    With respect to the tasks performed by Settlement Class Counsel in this litigation,

16   reasonable efforts were taken to avoid inefficiencies or duplication of work. Appropriate

17   attorneys and staff were assigned to specific tasks based on their respective experience levels and

18   skills, and work was allocated with clear instruction provided regarding who was responsible for

19   each task.

20               31.    The primary LCHB attorneys who have worked on this case over its more than

21   five year history are myself, Michael W. Sobol, Nicole D. Sugnet, Philippe Benoit, Daniel E.

22   Seltz, and Avery S. Halfon.

23               32.    My primary tasks in this case have included drafting and editing briefs in this

24   Court and on appeal; arguing Plaintiffs’ motion for reconsideration following remand after the

25   first appeal; arguing in opposition to AT&T’s motion to stay the case pending its appeal;

26   representing Plaintiffs at case management conferences; drafting papers in connection with, and

27   appearing in, the related FTC action; coordinating Settlement Class Counsel’s litigation and

28
     1
         A breakdown by LCHB timekeeper is attached hereto as Exhibit A.
                                                                               DECLARATION OF ROGER N. HELLER
     2238486.4
                                                    - 11 -                            CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 12 of 20



 1   discovery efforts; serving as the primary liaison for Plaintiffs in communicating with AT&T’s
 2   counsel; mediation and settlement negotiations; preparing settlement papers and exhibits; arguing
 3   Plaintiffs’ motion for preliminary settlement approval; and working on notice and other
 4   settlement implementation efforts.
 5               33.   Mr. Sobol’s primary tasks in this case have included editing briefs; developing
 6   litigation strategy; coordinating Settlement Class Counsel’s litigation efforts; and mediation and
 7   settlement negotiations.
 8               34.   Ms. Sugnet’s primary tasks in this case included drafting complaints and drafting
 9   briefs and working on argument preparation in connection with AT&T’s efforts to compel
10   arbitration and on the related motions and first appeal.
11               35.   Mr. Benoit’s primary tasks in this case have included reviewing and analyzing
12   documents, preparing summaries and commentary regarding documents produced by AT&T, and
13   identifying potential deponents.
14               36.   Mr. Seltz’s primary tasks in this case have included working on Plaintiffs’
15   opposition to AT&T’s motion to dismiss and on settlement negotiations.
16               37.   Mr. Halfon’s primary tasks in this case have included researching and working on
17   the opposition to AT&T’s appeal and the opposition to AT&T’s motion to dismiss, drafting
18   settlement papers and exhibits, drafting settlement approval papers, and working on settlement
19   implementation efforts.
20               38.   In addition, LCHB paralegals Jennifer Rudnick and Eileen Beltran have worked on
21   this case. Their tasks in this case have included assisting with filings and checking the factual and
22   legal materials cited in briefs; speaking with class members; assisting with service of case
23   documents; managing LCHB’s case file; and preparing case materials including for argument
24   preparation.
25               39.   LCHB litigation support specialists Margie Calangian and Anthony Grant also
26   worked on this case. Their primary tasks included maintaining Plaintiff’s electronic document
27   database for this case and assisting co-counsel in conducting searches of the database.
28
                                                                             DECLARATION OF ROGER N. HELLER
     2238486.4
                                                   - 12 -                           CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 13 of 20



 1                                        LCHB’s Time and Expenses
 2               40.   During the time that this litigation has been pending, LCHB has spent considerable

 3   time working on this litigation that could have been spent on other matters. Throughout the

 4   litigation, the active prosecution of this matter has consumed a significant percentage of my

 5   billable time that could otherwise have been spent on other fee-generating work. In addition to a

 6   substantial percentage of my time, this litigation has also required considerable work by other

 7   lawyers, paralegals, and staff at LCHB that could have otherwise been spent on other fee-

 8   generating work.

 9               41.   The time that LCHB has spent on this litigation has been completely contingent on

10   the outcome. LCHB has not been paid for any of its time spent on this litigation, nor has it been

11   reimbursed for any of its expenses incurred in this litigation.

12               42.   In connection with this litigation, the attorney and staff timekeepers at LCHB have

13   billed more than 3,534 hours (through May 20, 2021), for a total lodestar of more than

14   $1,843,035.50 during that period. This information is derived directly from LCHB’s time

15   records, which are prepared contemporaneously and maintained by LCHB in the ordinary course

16   of business. In reviewing its time records, LCHB exercised billing discretion to remove all

17   timekeepers who worked fewer than 10 hours on this matter and several other entries. None of

18   this excluded time is included in the above numbers, nor is the additional time that LCHB will

19   have to spend working on this matter, including in connection with seeking final approval of the

20   Settlement or on implementation efforts should the Settlement be approved.

21               43.   Attached hereto as Exhibit A is a summary listing each timekeeper for which

22   LCHB is seeking compensation for legal services in connection with this litigation, the hours each

23   individual has expended as of May 20, 2021, and the hourly rate at which compensation is sought

24   for each individual. For any individuals who have left the employ of LCHB, the hourly rate at the

25   time when their employment concluded is used. For individuals who are still employed by

26   LCHB, their current hourly rate is used.

27               44.   LCHB’s customary rates, which were used for purposes of calculating the lodestar

28   here, have repeatedly been approved by federal courts in this District and throughout the country.
                                                                             DECLARATION OF ROGER N. HELLER
     2238486.4
                                                  - 13 -                            CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 14 of 20



 1   See, e.g., Campbell et al. v. Facebook, Inc., No. 13-05996, Dkt. No. 253 (N.D. Cal. Aug, 18,
 2   2017) (approving LCHB rates); Allagas v. BP Solar Int’l, Inc., 2016 WL 9114162, at *2 (N.D.
 3   Cal. Dec. 22, 2016) (awarding requested fees after lodestar crosscheck, and concluding that the
 4   firm’s “hourly rates, used to calculate the lodestar here, are in line with prevailing rates in this
 5   District and have recently been approved by federal and state courts”); Perkins v. LinkedIn Corp.,
 6   2016 WL 613255, at *15 (N.D. Cal. Feb. 16, 2016) (approving LCHB rates); In re High-Tech
 7   Employee Antitrust Litig., No. 11-02509, Dkt. No. 1112 (N.D. Cal. Sept. 2, 2015) (approving
 8   LCHB rates); Nwabueze v. AT&T Inc., 2014 WL 324262, at *2 (N.D. Cal. Jan. 29, 2014) (“[T]he
 9   Court also finds that the rates requested are within the range of reasonable hourly rates for
10   contingency litigation approved in this District.”); Brazil v. Dell Inc., 2012 U.S. Dist. LEXIS
11   47986 (N.D. Cal. Apr. 4, 2012); In re Bank of America Credit Protection Marketing & Sales
12   Practices Litig., No. 11-md-2269 THE (Dkt. 96) (N.D. Cal. Jan. 16, 2013); Walsh v. Kindred
13   Healthcare, 2013 U.S. Dist. LEXIS 176319, at *9 (N.D. Cal. Dec. 16, 2013) (“The Court
14   concludes Plaintiffs have shown that the requested rates are reasonable”); Steinfeld v. Discover
15   Financial Services, No. 3:12-cv-01118-JSW, Dkt. No. 98 (N.D. Cal. Mar. 31, 2014); Holloway v.
16   Best Buy Co., Inc., No. C-05-5056 PJH (MEJ), Dkt. 382 (N.D. Cal. Nov. 9, 2011) (Hamilton, J.)
17   (“The rates used by Class Counsel are reasonable.”); In re: Toyota Motor Corp. Unintended
18   Acceleration Marketing, Sales Practices, and Products Liability Litig., No. 10-ml-02151, Dkt.
19   No. 3933 (C.D. Cal. June 24, 2013) (awarding requested fees and finding that “[c]lass counsel’s
20   experience, reputation, and skill, as well as the complexity of the case” justified billing rates);
21   Hale v. State Farm Mut. Auto. Ins. Co., No. 12-660, 2018 WL 6606079, at *13-14 (S.D. Ill. Dec.
22   16, 2018); In re: Whirlpool Corp. Front–loading Washer Prods. Liab. Litig., No. 08-65000, 2016
23   WL 5338012, at *25 (N.D. Ohio Sept. 23, 2016); Composite Co, Inc. v. Am. Int’l Grp., Inc., No.
24   1:13-cv-10491, Dkt. 157, at 7 (D. Mass Apr. 21, 2016); In re Bank of N.Y. Mellon Corp. Forex
25   Transactions Litig., No. 1:14-cv-05496, Dkt. 98 (S.D.N.Y. Sept. 24, 2015); In re Ocwen Federal
26   Bank FSB Mortgage Serv. Litig., No. 04-C-2714, Dkt. No. 476 (N.D. Ill. July 1, 2011); Yarger v.
27   Capital One, N.A., No. 11-154, Dkt. No. 259 (D. Del. Oct. 7, 2014); Lonardo v. Travelers Indem.
28   Co., 706 F. Supp. 2d 766, 794 (N.D. Ohio Mar. 31, 2010).
                                                                              DECLARATION OF ROGER N. HELLER
     2238486.4
                                                  - 14 -                             CASE NO. 3:15-cv-03418-EMC
     Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 15 of 20



 1               45.    LCHB also has incurred $41,877.34 in un-reimbursed expenses that were
 2   necessarily incurred in connection with the prosecution and resolution of this litigation. Attached
 3   hereto as Exhibit B is a breakdown of the expenses for which LCHB seeks reimbursement in this
 4   matter.
 5               46.    The foregoing expenses were incurred solely in connection with this litigation and
 6   are reflected in LCHB’s books and records as maintained in the ordinary course of business.
 7   These books and records are prepared from invoices, receipts, expense vouchers, check records
 8   and other records, and are an accurate record of the expenses incurred in this case.
 9               47.    The above expense numbers do not include certain internal costs that LCHB
10   incurred but for which LCHB does not seek reimbursement, including costs for telephone, in-
11   house printing, and copies.
12                              The Settlement is Fair, Reasonable, and Adequate
13               48.    Based on my experience and knowledge about the facts and issues in this case, I
14   believe that the Settlement reached in this litigation represents a fair, reasonable, and adequate
15   result for, and is in the best interests of, the Settlement Class Members.
16               I declare under penalty of perjury that the foregoing is true and correct. Executed at San
17   Rafael, California, this 27th day of May, 2021.
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                                                                                DECLARATION OF ROGER N. HELLER
     2238486.4
                                                     - 15 -                            CASE NO. 3:15-cv-03418-EMC
Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 16 of 20




                          Exhibit A
          Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 17 of 20



                          LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                                              From Inception
                                                              To 05/20/2021


Matter Number: 3737-0001 ROBERTS V AT&T MOBILITY


ATTORNEYS

NAME                                                HOURS                     RATE         TOTAL
MICHAEL SOBOL                                        153.40              1,000.00      153,400.00
ROGER HELLER                                         674.80               775.00       522,970.00
DANIEL SELTZ                                          37.90               730.00        27,667.00
NICOLE DIANE SUGNET                                  158.80               510.00        80,988.00
AVERY HALFON                                         258.00               485.00       125,130.00
PHILIPPE BENOIT                                    2,131.70               415.00       884,655.50
                                                   3,414.60                           1,794,810.50




PARALEGALS

NAME                                                HOURS                     RATE         TOTAL
EILEEN BELTRAN                                        18.40               375.00         6,900.00
JENNIFER RUDNICK                                      73.00               405.00        29,565.00
                                                      91.40                             36,465.00




LITIGATION SUPPORT SPECIALISTS

NAME                                                HOURS                     RATE         TOTAL
MARGIE CALANGIAN                                      16.10               420.00         6,762.00
ANTHONY GRANT                                         11.90               420.00         4,998.00
                                                      28.00                             11,760.00


                                 MATTER TOTALS     3,534.00                          1,843,035.50
                                              Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 18 of 20


                                            LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                                                                                                            From                Inception
                                                                                                                            To                   05/20/21


3737-0001                        ROBERTS V. AT&T MOBILITY - General Matter
TASK CODES     From Inception to 05/20/21

                                                                                                                                                                                                 TOTALS
Name                                 1       2        3       4        5        6        7         8        9       10           11      12        13        14      15       16     Cur. Hrs     Rate     Cur. Lod
MICHAEL SOBOL                      1.60     7.00    34.40    10.30    6.00     5.90    15.30      0.30     5.10     9.90         7.30                       9.20    39.60    1.50       153.40 1,000.00     153,400.00
EILEEN BELTRAN                                               14.50                                                                      0.40                                 3.50        18.40    375.00      6,900.00
PHILIPPE BENOIT                                                                                 2,131.70                                                                              2,131.70    415.00    884,655.50
MARGIE CALANGIAN                                                                                 16.10                                                                                   16.10    420.00       6,762.00
ANTHONY GRANT                                                                                    11.90                                                                                   11.90    420.00       4,998.00
AVERY HALFON                       4.40     0.30    56.10            69.10    39.50    68.60               3.70     0.90         0.70                       0.40    14.20    0.10       258.00    485.00    125,130.00
ROGER HELLER                       2.20     27.80   38.50    21.80   39.40    45.50    83.70      5.60     38.00   128.60        8.00   1.20                36.60   197.90              674.80    775.00    522,970.00
JENNIFER RUDNICK                   0.30     2.80     3.90    15.60    4.60     4.50     3.80      0.20     2.10                         11.00                        1.80    22.40       73.00    405.00     29,565.00
DANIEL SELTZ                                                                  16.30     2.40               3.10     3.00                                    1.10    12.00                37.90    730.00     27,667.00
NICOLE DIANE SUGNET                5.30     10.40   89.20    3.30                      13.60               4.40    22.00         5.10             0.70      4.80                        158.80    510.00     80,988.00
                       TOTALS:     13.80    48.30   222.10   65.50   119.10   111.70   187.40   2,165.80   56.40   164.40    21.10      12.60     0.70      52.10   265.50   27.50    3,534.00             1,843,035.50
Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 19 of 20




                          Exhibit B
           Case 3:15-cv-03418-EMC Document 209-1 Filed 05/28/21 Page 20 of 20



                            LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                                           From inception to 05/20/21



ROBERTS V. AT&T MOBILITY - General Matter 3737-0001




COSTS INCURRED
                                             Amount

Computer Research                           $2,108.48
Deposition/Transcripts                         $81.70
Electronic Database                        $23,490.00
Federal Express/Messenger                     $506.06
Filing Fees                                 $1,141.92
Mediation Expenses                         $12,262.50
Outside Copy Service                           $64.12
Postage                                        $15.08
Process Service                               $235.47
Travel                                      $1,972.01

Total Matter Costs:                      $41,877.34
